     CASE 0:18-cv-00886-DWF-DTS Document 48 Filed 08/13/18 Page 1 of 3



                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


JAMES IRVING DALE,                                   CIVIL NO. 18-886 (DWF/DTS)

      Plaintiff,

v.                                                   ORDER

TOM ROY,
KATHRYN HALVORSON,
NOLA KAROW,
NANETTE LARSON,
MICHELLE JAECKELS,
JEFFERY HAFFELY
DAHLEN, f/n/u,
CENTURION OF MINNESOTA L.L.C.,
DAVID A. PAULSON,
BLANCHARD, f/n/u,
DARRIN HAUGLAND,
DOCTOR FELT, f/n/u,
ANAGRAM INTERNATIONAL,
HEATHER HANSON,
OTTMAN, f/n/u,
UNKNOWN DEPARTMENT OF
CORRECTIONS EMPLOYEES,
UNKNOWN MINNCOR. EMPLOYEES,
UNKNOWN CENTURION OF MINNESOTA
L.L.C. EMPLOYEES and
UNKNOWN ANAGRAM
INTERNATIONAL EMPLOYEES,

      Defendants.


      The above matter came before the undersigned upon:

      1.      State Defendants’ Motion to Dismiss [Docket No. 21];

      2.      Joinder of Defendants Centurion of Minnesota, LLC, Darin Haugland, P.T.
              and Jeffrey Felt, M.D. to the State Defendants’ Motion to Dismiss [Docket
              No. 40]; and

      3.      Plaintiff’s Motion for a Continuance to Respond to the Defendant’s Motion
              to Dismiss [Docket No. 44].
     CASE 0:18-cv-00886-DWF-DTS Document 48 Filed 08/13/18 Page 2 of 3



       The Court, being duly advised in the premises, upon all of the files, records and

proceedings herein, now makes and enters the following Order:

       IT IS HEREBY ORDERED:

       1.     Plaintiff’s Motion for a Continuance to Respond to the Defendant’s Motion
              to Dismiss [Docket No. 44] is GRANTED as follows.

       2.     On or before October 12, 2018, Plaintiff shall serve and file a response to
              State Defendants’ Motion to Dismiss [Docket No. 21] not to exceed 12,000
              words. See Local Rule 7.1(f) for the District of Minnesota.

       3.     On or before October 12, 2018, Plaintiff shall serve and file a response to
              the Joinder of Defendants Centurion of Minnesota, LLC, Darin Haugland,
              P.T. and Jeffrey Felt, M.D. to the State Defendants’ Motion to Dismiss
              [Docket No. 40] not to exceed 12,000 words. See Local Rule 7.1(f) for the
              District of Minnesota.

       4.     On or before October 19, 2018, State Defendants may serve and file a reply
              memorandum to their Motion to Dismiss [Docket No. 21], so long as the
              total word count for the original and reply memorandum does not exceed
              12,000 words. See Local Rule 7.1(f).

       5.     On or before October 19, 2018, Defendants Centurion of Minnesota, LLC,
              Darin Haugland, P.T. and Jeffrey Felt, M.D. may serve and file a reply
              memorandum to their Motion to Dismiss [Docket No. 40], so long as the
              total word count for the original and reply memorandum does not exceed
              12,000 words. See Local Rule 7.1(f).

       6.     The September 20, 2018 pretrial conference is CANCELED. The pretrial
              conference will be rescheduled, if necessary, after a ruling has been issued
              on the Motions to Dismiss.

       7.     All documents shall be filed and served in compliance with the Electronic
              Case Filing Procedures for the District of Minnesota and in compliance with
              Local Rules 7.1 and 37.1. 1




1      If Plaintiff does not participate in the Court's Electronic Court Filing System
("ECF"), Plaintiff shall file his documents with the Clerk of Court’s Office and the Clerk’s
Office will then scan and upload Plaintiff’s documents to ECF.

                                             2
    CASE 0:18-cv-00886-DWF-DTS Document 48 Filed 08/13/18 Page 3 of 3



         8.    When a response or reply brief is filed, one paper hard copy of the pleading
               and all supporting documents shall be mailed or delivered to Katherine
               Haagenson, Courtroom Deputy for Magistrate Judge David T. Schultz, 9E
               U.S. Courthouse, 300 South Fourth Street, Minneapolis, MN 55415,
               contemporaneously with the documents being posted on ECF.

         9.    All parties must serve their papers on the opposing counsel or the opposing
               party at the same time as the papers are filed with the Court. If a party fails
               to serve their papers on the opposing counsel or the opposing party, the
               Court will not consider the contents of the papers filed with the Court.

         10.   The date documents are mailed shall be the date of service and filing.

         11.   There shall be no ex parte communications by any party or counsel with the
               Judge. Therefore, any person seeking to communicate with the Judge in
               writing must copy the opposing party or counsel with any written
               communication to the Judge, and all oral communications with the Judge
               must include the opposing counsel or party.

         12.   Except as permitted by this Order, no further motions, pleadings or
               documents shall be filed until a ruling has been issued on the Motions to
               Dismiss [Docket Nos. 21 and 40].

         13.   On July 6, 2018, Plaintiff was referred by the Court to the FBA Pro Se
               Project [Docket No. 13]. Plaintiff is encouraged to contact Tiffany Sanders
               at 612-965-3711 or proseproject@q.com, to obtain assistance in finding
               counsel.

         14.   As Plaintiff is presently representing himself, he is reminded of the need to
               obtain and review a copy of the Federal Rules of Civil Procedure and the
               Local Rules of the United States District Court for the District of Minnesota.
               Plaintiff is also directed to the District of Minnesota’s webpage:
               Representing Yourself (Pro Se) on its website. This webpage contains a
               collection of resources designed to be of assistance to pro se filers.
               Resources include a Pro Se Civil Guidebook, glossary and answers to
               common pro se questions.

Dated:         August 13, 2018

                                           s/ David T. Schultz
                                           DAVID T. SCHULTZ
                                           United States Magistrate Judge




                                              3
